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              In the United States District Court
                  for the District of Columbia

Leandra English,                   §
                                   §
         Plaintiff,                §
                                   §
v.                                 §
                                   §
Donald J. Trump and                §
John M. Mulvaney,                  §       Case No. 1:17-cv-02534
                                   §
         Defendants.               §
                                   §
                                   §
                                   §
                                   §
                                   §




  MOTION OF THE STATES OF TEXAS, WEST VIRGINIA,
    ALABAMA, ARKANSAS, GEORGIA, LOUISIANA,
 OKLAHOMA, AND SOUTH CAROLINA TO FILE BRIEF AS
    AMICI CURIAE IN SUPPORT OF DEFENDANTS
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Motion of the States of Texas, West Virginia, Alabama, Arkansas,
Georgia, Louisiana, Oklahoma, and South Carolina To File Brief as
Amici Curiae in Support of Defendants:
    The States of Texas, West Virginia, Alabama, Arkansas, Georgia,

Louisiana, Oklahoma, and South Carolina move for leave to file the attached

amici curiae brief in support of defendants.

    1. District courts have “inherent authority” to grant participation by an

amicus curiae. Youming Jin v. Ministry of State Sec., 557 F. Supp. 2d 131, 136

(D.D.C. 2008). That authority is derived from Federal Rule of Appellate Pro-

cedure 29. Id. In determining whether to grant leave to participate as an ami-

cus, this Court has “broad discretion,” Nat’l Ass’n of Home Builders v. U.S.

Army Corps of Eng’rs, 519 F. Supp. 2d 89, 93 (D.D.C. 2007), and amicus status
is generally allowed when “the information offered is timely and useful.” Ells-

worth Assocs. v. United States, 917 F. Supp. 841, 846 (D.D.C. 1996).

    Under Federal Rule of Appellate Procedure 29(a), a movant must (1) ex-

plain its interest, (2) the reason why an amicus brief is desirable, and (3) why

the matters asserted are relevant to the case. As set forth below, amici will

provide value to this case by bringing relevant matters to the Court’s attention

that are not already discussed by the parties.

    2. States have “special solicitude” to challenge unlawful federal Execu-

tive Branch actions. Massachusetts v. EPA, 549 U.S. 497, 520 (2007). Courts

have long recognized that the States guard “the public interest in protecting

separation of powers by curtailing unlawful executive action.” Texas v. United


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States, 809 F.3d 134, 187 (5th Cir. 2015), aff’d by equally divided Court, 136 S.

Ct. 2271 (2016) (per curiam).

    Those interests lie at the heart of this case: the Consumer Financial Pro-

tection Bureau wields sweeping power over American life. Its actions touch

the affairs of millions of Americans. As a panel of the D.C. Circuit recently
observed, “the Director of the CFPB possesses more unilateral authority—

that is, authority to take action on one’s own, subject to no check—than any

single commissioner or board member in any other independent agency in the
U.S. Government.” PHH Corp. v. Consumer Fin. Prot. Bureau, 839 F.3d 1, 6-7

(D.C. Cir. 2016), reh’g en banc granted, order vacated (Feb. 16, 2017).

    Any federal official who wields that level of power should be appointed by

the President—not by Congress, and certainly not by an unaccountable fed-

eral bureaucrat. Plaintiff’s contrary argument that the Dodd-Frank Act of

2010 supplants the President’s choice raises serious constitutional concerns
and undermines the Constitution’s separation of powers.

    Amici thus seek leave to file an amicus brief to present these issues in a

way that is helpful to the Court.

    3. On November 28, 2017, counsel for amici emailed counsel for plaintiff

and defendants to ask their position on this motion. Counsel for defendants

responded that defendants take no position on the motion. Counsel for
plaintiff had not responded by the time of filing.




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                              Conclusion
    For the foregoing reasons, amici urge the Court to grant their motion to

file a brief as amici curiae in support of defendants.

                                            Respectfully submitted.

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                     Certificate of Service
    I hereby certify that on November 28, 2017 the foregoing document was

served via electronic filing on all counsel of record in this case.


                                         /s/ Scott A. Keller
                                         Scott A. Keller
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